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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                        §
                                              §
Aelina Roman                                  §       CASE NO. 22-33528-H4-13
                                              §
DEBTOR                                        §

                       DEBTOR(S)' RESPONSE TO
         ORDER REGARDING NECESSITY OF FILING PAYMENT ADVICES

       My name is Aelina Roman. I am a debtor in this bankruptcy case. I declare that I did not
receive any payment advices or other evidence of payment from any employer during the 60 days
preceding the date of the filing of this case. If this case is a joint case, both spouses have signed
below to make this declaration jointly with respect to both.

        I declare that I have personal knowledge of the facts stated herein and declare, certify,
verify, and state under penalty of perjury, that the foregoing is true and correct.



/s/ Aelina Roman____________________          Date: 11/30/2022
Debtor
